Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 1 of 24

UNITED STATE DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

JUST.IN H NULAND,
Plainrif£

V.

SOUTH SHORE HOSPITAL, SOUTH
SHORE MENTAL HEALTH, ME])ICAL
RECORD ASSOCIATES, LLC, Jason A
TRACY, MD; Wayne A CHIN, MI);
Kenneth McLaughlin, MD; Justin
Briones, MD; John Walsh, MD; Jeffrey
Johnson, MD; Linda Worcester, MD;
Julie Mitterando, MD; Gloria Holyoke,
RN; Kyle McAlpine, RN ; Cheryl Smith,
RN; Courtney Barbetto, RN; Fiona
Bittekc r; RN; Sheila McBride, RN;
Jillian McCarthy, RN; Sarah C Rals-ton,
RN; Judith A Richards, RN; Melissa E
Constantino, RN; Cathleen Pierce, RN;
Diane Logan, RN; Stacy Lucier, RN; Paul
Zaborski, RN; Sharon L Stemm, RN;
Jennifer Poweel, RN; and Dialme Bryan,
RN;

Defendants,

 

 

CIV]L ACTION NO.

COMPLAIN T FOR:
l. MEDICAL MALPRACTICE AN])

NEGLIGENCE

ASSAULT & BATTERY

FALSE IMPRISONMENT

4. NEGLIGENT INFLICTION OF
EM ()TIONAL DISTRESS

5. VIOLATION OF OF RIGHT TO
PRIVACY

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Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 2 of 24

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The United States District 'C ourt for the District ofMassachusetts has jurisdiction to hear
Plaintitt’ s civil action under ll U.S.C. § 1332 (a)(l), under diversity jurisdiction since the
Plaintilf is a Rho de Island resident, and most, ifnot all, Defendant health care providers are
headquartered in Massachusetts or residents ofMassachusetts, and the amount in controversy

and likely recovery is over $75,000.00.
PARTIES

P]aintiil`lustm H. Nu]and (“Plaintift” or “Patient”), resides at 404 Roosevelt Avenue, Unit 202 in
the City ofC'entral Fa]ls, State othode lsland and Providence Plantations, 02863.
Defendants South Shore Hospital and South Shore Mental Health are medical services
providers located in Norfoll<: County, Massachusetts. Their principalplace of address is 55
Fogg Road, South Weymouth, Massacliusetts.

Defendant l\/ledical Recol‘d Associates, LLC, is a Massaclrusetts corporation With a principal
place of business at Post Oiiice Box 88, Milton, Massacliusetts 02186-0002.

Defendants Tracy, Chin, McLaugh]in, Briones, Walsh, Jolmson, Worcester, Mitterando,
Holyokc, McAlpine, Srnith, Barbetto, Bitteker, l\/[cBride, McCarthy, Ralston, Richards,
Constantino, Pierce, Logan, Lucier, Zaborsl<i, Sternrn, Pcweel, and Bryan are medical
professionals (nurses or physicians) employed in the Cornrnonwealth ofMassachusetts. Upon
information and belief Plaintiii" submits that many, if not a]], named defendants reside in
Massachusetts.

There are Defendants Whose identity may be unknown to Plaintitf at this time, yet Plaintifr`

believes that the Court Will have jurisdiction over later-named and added parties since all events

 

Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 3 of 24

in this matter took place in Massachusetts.

STATEMENT OF THE FACTS AND CASE

Introduction.

. Plaintiif]ustin Nuland (“Patient”) brings this civil action against South Shore Hospital, South

Shore l\/lental Health, and the physicians and nurses that treated Patient While he Was

involuntary held against his Will at the two hospitals

. For a one-Week period in January 2012, Patient Was held against his vvill, in seclusion and

forced to take high- dose psychotropic drugs

. During this one Week- long seclusion, treating nurses and physicians (the named and identiiied

defendant in this medical malpractice and negligence case) deviated dorn generally accepted
and safe medical treatment practices, and in iact, engaged in dangerous treatments and
administered dangerous levels of high- dosage and strong drugs that caused the Patient to lose

control of his body and free Will.

. W.hen Plaintiffvvas admitted to South Shore Hospital and South Shore Mental Health, neither

hospital conducted a thorough evaluation and diagnosed him With any illnesses. ]nstead, the
doctors, nurses and South Shore I-Iospital and MentalHealth entirely relied upon the false,
malicious, and incorrect medical information provided by J ames Nu]and, the Plaintift’ s father.
None of the defendants reviewed P`laintilf’ s medical history or performed an independent
evaluation on himprior to treating him As a direct result, the treatment Was Wrongly

adrninistcred, against the Plaintiri’s consent, and resulted in significant harm and damages

. During this treatment, the treating nurses and physicians administered medications and treated

the Patient at a level nn below What is commonly and generally accepted Within the medical

 

 

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Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 4 of 24

connnunity, and Within the Eastern Massachusetts region

During observation periods Whjle the Patient Was secluded and over-medicated, treating nurses
and physicians created inaccurate observations for reports, and did not accurately record the
Patient’s pain, loss of consciousness and inability to voluntarily move his body, or the iact that
he Was requesting to speak With an attorney and requested to be discharged dorn the Defendant
South Sbore Ho spital.

'Ihe Patient did not need large amounts of psychotropic drugs, and did not need to be secluded
or restrained

Initial Commitme nt.

Patient initially arrived at South Shore Hospital on or about January 6, 2012, between 10:00
and ll:00 p.rn Patient voluntarily presented himselfto South Shore Hospital for physical and
psychiatric evaluation He Was in good health, but presented himselfvoluntarily for an
evaluation

When the Patient initially arrived at South Shore Hospital, he Was in good health and did not
require invasive medical treatment Most irnportantly, Patient did not provide consent for
treatment at South Shore Ho spital lnstead, the Patient expressly Withheld consent and stated
to treating physicians and nurses that he did not Want to be treated, secluded, or drugged
Since Patient came to the hospital for an evaluation by his own fi”ee will and choice, he Was
appropriately admitted under “Voluntary Admission Status” as defined in the Massachusetts
Code ofRegulationS: 104 CMR 27.09(2).

Since the Plaintii`fwas admitted under “Voluntary Admission Status,” the Defendant health care

providers Were required to discharge the Patient and allow him to leave upon his request

 

Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 5 of 24

12. lnstead of performing an independent evaluation on Plaintiff, the admitting doctor Wayne Chin
relied solely on the incorrect and malicious statements of his cher, Who arrived at South Shore
Hospital With the Plaintiif

13. l\/Iedical records show that South Shore Hospital and Dr. Wayne Chin relied upon false
statements in admitting Plaintiii" and deciding vvhat course of treatment to administer.
Speciflcally, Plaintiif s father, outside of Plaintift’ s presence, informed Dr. Chin that he believed
his son Was bipolar, manic, suffering from a severe episode, had an extensive criminal record
and Was a danger to himself lnstead of verifying this information Dr. Chin accepted the false
information and relied upon it to admit Plaintiif.

14. Dr. Chin then relied upon those statements to treat Plaintiif as if he Was a bipolar person Who
Was manic and suffering dom a severe episode, He Was not. After being treated at South
Shore Hospital and Mental I-Iealth, Patient Was transferred to Tufts l\/ledical Center, Floating
Hospital for Children. On the report, it specifies that the main reason the Patient Was admitted
Was because "‘P atient Was initially admitted because his father thought the patient appeared
manic. On presentation to TMC [Tufts Medical Center], however, the patient did not appear
manic. . . .”

15. Once the Patient Was admitted, Defendant health care providers incorrectly diagnosed the
patient and immediately placed him in seclusion, and gave him a heavy dose of medication that
caused him to be chemically restrained against his will

16. Seclusion is only appropriate vvhere the Patient presents a danger to either himselfor another
person "[here Were no records or doctor’s notes in Patient’-s medical records that indicate the

Patient Was a danger to himselfor others Further, on certain forms Where the Patient Was

 

 

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Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 6 ot 24

evaluated, the box where a treating nurse or physician Would check and ai]irm that the Patient
Was a danger to himself or others was unmarked or not checked

Since the Patient was admitted, and misdiagnosed and mistreated, Defendant South Shore
Hospital and its nurses and physicians kept Patient in seclusion against his Will and unlawfully In
addition the defendant health care providers kept the Patient on a heavy dose of psychotrop ic
medications and under chemical restraint

Chemical restraint is the administration of medication for the purpose of limiting the physical
deedom of an individuaL and then temporarily/controlling the behavior of a Patient by chemical
means

The seclusion and chemical restraint lasted tiom 1/7/12 at 2:00am until 1/14/2012 at 2:30pm; a
total of 7 days, 12 hours, and 30 minutes.

Tre atment While At South Shore Hospital.

The Patient was treated for a one-week period of time at South Shore Hospital and South
Shore Mental Health During this period of time, the defendants did not seek court permission
for involuntary commitment (comrnonly referred to as a 12(b) petition) or permission to admit
the Patient against his will for being a danger to himselfor others

During the period of seclusion, Defendant health care provider and its nurses and physicians
administered, without Plaintift’s consent, various medications, including, but not limited to
loraziepam (29 times), haloperidol (26 times-), and olanzapine (4 tirnes).

One thc hrst day of his treatment, the defendants administered no less than six (6) times
medicine through a syringe against the Patient’s protest The treatments were painiiil,

embarrassing and the Patient felt violated.

 

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Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 7 ot 24

During future treatments, the defendant doctor and nurses threatened to administer drugs to the
Patient by way of syringe if he did not take his medicine orally. ln order to execute these
threats, the defendants would brandish a syringe in fi‘ont of the Patient, and order the vials of
medicine te load the syringe and wave it in his face threatening to stick him with it unless he took
his medicine orally.

During the week-long period of seclusion and chemical restraint, Defendant health care
providers recorded their observations on forty-six (46) different “PHYSICLAN ORDER FOR
PEDIATRIC/ADULT RESTRAINTS/SECLUSION BELLAVIORAL INDICATION” forms
(hereinafter referred to as “seclusion orders”). EXH]BIT A - Sumrnary & Secl:usion forms
Defendants recorded the administration of Medication on “eMAR Administration Report”
forms.

Throughout his confinement at South'Shore Hospital7 Defenth nurses and physicians
authorized and ordered the Patient’s continued restraint and seclusion document by way of 46
different seclusion orders.

During the period of seclusion and chemical restraint, the Patient slipped in and out of
consciousness due to the high dosage of drugs administered For periods that the Patient was
awake and coherent, he requested an attorney and to be discharged from South Shore
Hospital. He also expressly stated that he did not consent to be treated and wanted to be
discharged nom the South Shore Hospital.

Despite the Patient’s continued requests to be rcleased, discharged, or speak to an attorney
about his rights, the defendant’s continue to mistreat the Patient and keep himunder seclusion

and chemical restraint

Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 8 ot 24

29. Despite Patient’s loud and clear protests and demands to be discharged, eighteen (l 8) of the

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forty-six (46) seclusion orders stated that the “patient remains stable” and had “no new
complaints.”

When the Defendant South Shore I-Io spital and other medical providers attempted to obtain
consent mr treatment the Patient expressly redised to sign the patient authorization and consent
form, and repeatedly objected to being held and medicated against his wi]l.

When the Patient was presented with a form to consent to treatment, he refused and was unable
to sign The consent forms contains the following statement “too anxious to sign,” indicating no
consent was provided

Prior to placing the Patient under strict seclusion, coniinement, and under a heavy dose of
chemical restraint, the Defendant South Shore Hospital and its nurses and physicians did not
explore less invasive or less restrictive options to treat the Patient.

No less restrictive options were attempted by Defendants before opting for chemical restraint
No less restrictive options were attempted by Defendants before seeking seclusion

Plaintiif was both chemically restrained and in physical seclusion at the same time.

No authorization was provided to Defendants nom district or probate court for the
administration of antipsychotic or anxiolytic medication

Plaintiif was subjected to medication restraint by Defendants on at least 59 occasions. §§
EXH[BIT A - Sumrnam & Seclusion forms.

During Plaintifl’ s restraint and seclusion, there are 18 emergency department dictations starting
ii"om 1/8/2012 at 07:48 a.m until 1/14/2012 at 1157 p.m. stating that “patient remains stable”

The Defendant’s notes on the many medical records show that the patient was stable and did

 

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Case 1:15-cv-10006-WGY Document 1 Filed 01/02/15 Page 9 ot 24

not need to be drugged or restrained by chemical means.

At 12:00 p.m on 1/8/2012, Defendant South Shore Hospital, and the nurses and physicians
treating the Patient decided to hold the Patient against his will, despite no indication on seclusion
order forms that he was a danger to himselfor others.

The Defendant health care providers did not make any note on the forty- six (46) restraint and
seclusion forms of release conditions, discharge requests, objections to treatment, or anything
that would indicate how or when the Patient could and would be released

Since the Patient was kept under seclusion and chemical restraint against his will, his treatment
was involuntary Massachusetts law requires a health care provider to die and move for
involuntary commitment (12(b) petition) in court after a three (3) day observation period

ln this case, the three day observation period dorn the time of involuntary admittance expired on
January 1 lth 2012, but only if the Defendant liled an appropriate 12(b) involuntary commitment
petition The Defendants did not hle an involuntary corrinitment petition against the Patient as
required to seclude and restrain someone against their will.. See M.G.L. c. 123, §12(b).
Defendant’s did not Hle or move in Court for involuntary commitment (also referred to .as Civil
Commitment), and did not receive any Court order or permission to hold the Patient beyond
three (3) days.

In order to comply with Massachus etts law, Defendant health care providers would have had to
nle for involuntary commitment and schedule a commitment hearingprior to the end of business
on the llth.

Defendants never filed for involuntary commitment and a commitment hearing was not held for

the Patient.

 

 

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 10 ot 24

Fo llowing four (_4) days of involuntary commitment, Patient was not discharged

On day six (6) of the Patient’s involuntary coniinement, January 12, 2012, the Patient tried to
leave South Shore Hospital. Security at South Shore Hospital grabbed the Patient, physically
restrained him, and prevented him nom leaving the hospital against his wi]l.

Despite repeated requests, the Patient was not provided an opportunity to call an attorney, or
talk to anyone at the Committee fur Public Counsel Services (“CPCS” or commonly referred to
as the Mass achusetts Public Defenders). Patient was trying to contact an attorney at the public
defender’s office to contest his being detained, secluded, and heavily medicated against his will
and without his consent

In addition Defendant health care providers did not afford any type of “complaint procedure”
or allow the Patient to object to his being secluded, or chemicaHy restrained

Plaintilf was never allowed the option of an emergency judicial review.

The Patient’s medical records also lack two key elements of review and keeping someone in
treatment against their will; and “individual crisis prevention plan” and notes or comments from a
“debriefing” on the Patient’s overall treatment

In addition to these glaring omissions that are a standard part of medical care and treatment
evaluation Defendant health care providers also never conducted or doctur)ented any ‘°lack of
competence”evaluation, nor did the Defendant health care providers have periodic reviews of
his treatment and progress with relatives

During the Patient’s coniinement at Defendant Health Care providers, he requested access to
many things reasonable and necessary for his normal health, functioning and access to help,

including: physical activity, being allowed to shower, outdoor access, access his cellular phone

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 11 ot 24

and contacts, access to pens and writing materials, and ability to contact an attorney or
representative who could help him get discharged

During this time of seclusion and restraint, the Patient was aware his rights were being violated,
and that he was being treated incorrectly and against his will He speciiically requested a pen
and paper so he could document the wrong treatments, and issues with his confnement and
seclusion

During this time, Patient also made several request to contact a lawyer or a judge so he could
be advised of his rights and do something or file something to petition to stop his being held
against his will and confined

A]l of the Patient’s requests were denied by the Defendant health care providers and its nurses
and physicians

The Defendant South Shore Hospital, its nurses and physicians did not make note of the
Patient’s many requests for these reasonable items and calls in medical records or any
supervision reports', and did not make note of his objections towards treatment The Defendant
health care providers also did not provide any reasonable reason or rational basis to deny the
Patient’s requests

Defendant did not identify Plaintiff s particular patient- specific approaches and strategies that
are most helpful to the patient in reducing agitation or distress (e.g., environmental supports,
physical activity, sensory interventions); and

Defendant did not identify Defendant’s preferences concerning restraint and seclusion including
type of procedure and positioning, gender of staff that administer and monitor the restraint or

seclusion and supportive interventions that may have a calming effect on the patient

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 12 ot 24

Defendants restrained and secluded Plaintiff` for over 12 hours or a total episode exceeding 12
hours in a 48 hourperiod.

The mci]ity director and facility medical director were not notified of Plaintid’ s restraint and
seclusion

The Defendant’s did not receive Patient’s informed consent to the administering of antipsychotic
medication

The Defendants did not receive consent from Patient’s legally authorized representative before
administering psychotropic drugs and placing the Patient in seclusion

Plaintiif was lawfully entitled to be discharged upon his request

Defendants forced Plaintiff to wear a hospital gown without underwear.

Plaintiif was not dilly clothed during time spent in seclusion

Defendant’s did not make any notations or indings that would justify refusing to adequately
clothe the Patient As a direct result of being forced to wear a thin hospital gown with no
underwear, the Patient felt vio lated, unsafe, and that the Defendant health care providers had no
response for his dignity.

As a result of these actions, the Patient was not provided maximum personal dignity

Plaintiff asserted the right to an Emergency J udicial Review on many occasions, and the
defendants failed to comply

South Shore Hospital and Mental Health’s Doctor’s and Registered Nurses, as named in this
complaint and working for Defendant Ho spitals, participated in actions that led to Plaintiif s
harm In'an effort to document the instances of mistreatment and injuries, as well as violations

of the generally accepted standard of care and treatment for doctors and nurses, Patient created

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 13 ot 24

a spreadsheet that specifies the doctors and nurses and what treatment guidelines or code they
violated This list of medical malpractice incidents citing the code (standard ofcase) is attached
as EXHIBIT B - List of Doctors, Nurses and Medical Malpractice Instances.

Violation of Right To Privaey.

On or about february 20, 2014, Patient submitted a request to South Shore Hospital
requesting a copy of all of his medical records for treatment dates January 2, 2012 - January
23, 2013.

On Patient’s request, he specified his Central Falls, Rhode lsland address and specifically
requested that medical records be sent only to him

ln addition to this written specification Patient called South Shore Hospital and expressly told
them to send his medical records to his Roosevelt Avenue, Central Falls, Rhode lsland address
During this conversation Plaintiff informed South Shore Hospital that the request was for a legal
purpose, and the matter was highly sensitive

In response to this request, Defendant South Shore Hospital utilized an outside third-party
medical records vendor, l\/ledical Record Associates, LLC, to compile the Patient’s records
On March 24, 2014, despite Plaintiff’ s written and oral instructions South Shore flosp-ital and
Medical Record Associates, LLC, sent large packet of 80 pages filed with private medical
records sensitive medical information to a different address: 213 Powder Point Avenue,
Duxbury, Massachusetts.

Plaintitf’s mther, the defendant in a current pending lawsuit resides at this Powder Point
Avenue, Duxbuly address

More troubling is that Plaintifflater-received packet of medical records contained only 59

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 14 ot 24

pages, 21 pages less than the unintended recipient

South Shore Ho spital and Medic al Record Associates, LLC violated Plaintift’s right to privacy
by sending coniidential and sensitive medical records to an adverse party in a separate pending
lawsuit

As a direct result, the unintended recipient learned harmful, sensitive and emban‘assing medical
irmrmation about the P]aintiif This sensitive information was not known by the unintended
recipient prior to wrongly receiving_the Plaintiff s confidential medical records

Fo]lowing this incident, South Shore l~Iospital sent a letter apologizing for violating Plaintilf s
privacy In this letter, South Shore Hospital used the words “error” and “misdirected” admitting
to its fault and ne gligence. EXHIB IT C - South Shore Hospital Letter Admitting to Violating

the Patient’s Privacy.

South Shore Hospital and Medical Record Associates, LLC, violated the Health lnsurance
Portabi]ity and Accormtability Act (HIPAA), which sets strict rules about patient privacy and

thc confidentiality ofrnedic al records

QAM(MN
COUNT 1
NEGLIGENCE AND MEDICAL MALPRACTICE
Plaintiifrealleges and re stated all factual allegations contained in statements 1-83 herein
In order to prevail on a Malpracticc elaim, the Plaintiff`must hrst show that Defendant Doctors
and Nurses performed their duties well below the acceptable standard for the like in the

Comrnonwealth.

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 15 ot 24

All defendant health care providers owed a duty of care to the PlaintiifPatient. As prescribed
by Massachusetts law, all health care providers and licensed physicians and nurses are required
to adhere to strict levels of quality medical care and treatment7 and abide by these requirements
when treating a patient Since the PlaintiifPatient was in their care, they owed a duty directly to
hirnto perform and administer medical care ordinarily exercised by the average qualified
physician and nurse engaged in medical practice -at a professional level
lt is herein alleged that in this matter Plaintiifs deviated from the reasonable and prudent
standard for the like in their profession including but not limited to, following reasons
a. Defendant’s committed 59 instances of malpractice relating to the administration of
Haloperidol, Olanzapine, Lorazeparn yet failed to comply with the requirements of
M.G.L. c. 123, §SB(d)-(f), which govern the standards required to administer
antipsychotic medication Defendants unlawfully administered the drug Haloperidol no
less than 26 times Defendants unlawfully administered the drug Olanzapine no less than
4 times Defendants unlawfully administered the drug Lorazepam no less than 29 times
ln addition to administering high-dose antipsychotic medications South Shore Hospital, South
Shore Mental Health, and its physicians and nurses seriously deviated from commonly accepted
and safe medical practices when treating the Plaintiff Specifrcally, he was treated against his
will, not provided with informed consent for any of the treatments he received held in seclusion,
chemically restrained and experienced significant pain and discomfort
South Shore Hospital, South Shore Mental Health, and the named defendant physicians and
nurses working at both South Shore health care providers Were negligent in their care and

treatment of the Plai'ntiff Patient, in that they all failed to treat him in accordance with the

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 16 of 24

standard of care and skill required of and ordinarily exercised by the average qualiiied physician
and nurse engaged in medical practice at a professional level such as that in which the
defendant health care providers were engaged

Defendants exceeded the time limits on restraint and seclusion as stated in 104 cmr
27.12(5)4(b)2 by 168.5 hours. As such, Dz'rector‘ Defendants failed to inquire about the needs
for restraint and seclusions, any limits on these extreme treatments, and what conditions, if any,
would alleviate the need (if any actually existed in the nrst place) for restraints and seclusion..
Defendants failed to identify and implement strategies to ncilitate release as soon as possible
and/or eliminate the use of multiple restraint episodes

Defendants failed to perform a competence evaluation on the Plaintiif upon admittance, which is
common practice and prescribed under the Massachusetts Code of Regulations as standard
practice By failing to perform a competence evaluation, the Defendant health care providers
deviated nom standard medical practice and regulations that require a competency evaluation
ln addition to the normal level of care and treatment necded, the Massachusetts code of
regulations prescribes certain activities and requirements for the health, welfare and safety of
patients Notably, these requirements include access to physical activity, fresh air/being allowed
outdoors, writing utensils and paper, and other necessary iterns.

Defendants violated 104 CMR 27.12(5)4(b)l when Plaintiff was denied access to physical
activity. When the Patient was restrained and secluded, he was not allowed to engage in any
physical activity.

Defendants violated M.G.L 123 Section 23(b) & 104 CMR 27.13(5)(b) when they failed to

make writing materials in reasonable quantity available to plaintiif. ln iact, on multiple

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 17 of 24

occasions, Patient requests pens and paper to record his treatment and contact a public
defender or attorney to advise him of his rights against being involuntarily detained

96. Defendants failed to conduct and/or provide Plaintifl` with a debriefing within 24 hours after the
Plainti'lf release as required by and in violation of 104 CMR 27.12(4)(b).

97 . Defendant’s failed to acquire consent, court order, or other lawful means by which to administer
antipsychotic medication to Plaintiff as required by 104 CMR 27.10(1)(b)

98. Defendants violated 104 CMR 231 .09(2)1 when they miled to discharge P]aintiff; who was
present on a voluntary admission status, upon his request that they do so.

99. Defendants violated 104 CMR 2'7.09(']/')2 regarding involuntary commitment when following 3
days of involuntary commitment Defendants also failed to obtain consent or court order for
such involuntary commitment Defendants then violated 104 CMR 27.12(0)(2) by iailing to tile
for involuntary commitment ofPlaintiif. During this involuntary commitment Defendants violated
104 CMR 27. 12 4(e)la when they failed to generate and/or record a criteria for release
pertaining to restraint and seclusion ofPlainti|iI Defendants also violated 104 CMR 27.12
{(3)(a)(b)l .2.3} {(o)} (d) and 7.12t4)(a)l.2.3.4.5.6.7.9 when miled to generate and/or record

an individual crisis prevention plan for Plaintiif.

 

1 (2) Voluntary Admission Status.

A patient voluntarily admitted to a facility under 104 CMR 27.06 shall be discharged without a requirement of a three day notice upon

his or her request.

2 (7) lnvoluntary Commitment Status.
(a) 'Ihree day commitment A person adlnitted.to a facility under M.G.L. c, 123, § 12, may be discharged by the facility
director at any time during such period of hospitalization if the facility director determines that such person is not in need
cf care and treatment in the facilityi The four day hospitalization period authorized under M.G.L. c. 123, § 12 shall not be
extended and, at the end of such period, a person so hospitalized shall be discharged by the facility unless, prior to
expiration, such person has applied for voluntary admission to the facility, or the facility director has fileda petition for
an order of commitmcnt,
(b) Prolonged Commitmcnt A person committed to a facility by order of a court of competent jurisdiction shall be
discharged by thc facility at the expiration of the time period established by the ordcr, unless the commitment order is
renewed under the procedures established in M.G.L. c. 123, §§ 7 and 8.
(c) At any time during the period of hospitalization, the facility director may discharge such person if he cr she determines
that such person is no longer in need of care and treatmentl

17

 

 

Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 18 of 24

100. Most importantly, P]aintiif was denied any reasonable access to representation violating 104
CMR 27.07(3) when they failed to notify the Commonwealth’s public defenders or committee
for public counsel services regarding the Plaintiif Furthermore, Defendants violated M.G.L ch
123, §12(b) when they failed to provide Plaintiif with the option of an Emergency Judicial
Review.

101. Defendants violated 104 CMR 27'.12(5)(0)3 when they failed to allow Plaintitf to remain

1 fully clothed during Plaintiflr s time spent in seclusion

102. In sum, all of these violations and acts of negligence occurred when the Defendants were
treating the Patient at a level mr below that which is common, safe, and acceptable for
physicians and nurses in l\/iassachusetts. As a result, all defendant health care providers
breached their duty of care to the PlaintiifPatient.

103. As a direct result of the malpractice of defendant health care providers, Patient suifered
severe mental anxiety, stress, emotional distress, and actual physical harm ii"om being restrained

and secluded against his will

COUN'I' 2
ASSAULT & BATTERY l
104. Plaintiffrealleges and restated all mental allegations contained in statements 1- 103 herein
105. Battery is an intentional tort requiring that a defendant act, intending to cause contact with a
plaintiff which is harmful or oifensive, and that the defendant actually cause such contact
106. Here, PlaintiifPatient alleges that he was assaulted and battered by South Shore Hospital

and South Shore Mental Health, as well as its authorized agents, the named defendant

18

Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 19 of 24

physicians and nurses

107. During his treatment at South Shore Hospital and South Shore MentalHealth, Plaintiif
Patient was physically restrained, grabbed by security, and physically restrained and forced to
take medication against his will All of these contacts were harmful and oifensive, and certainly
against the consent ofP]aintiifPatient.

108. When defendant health care providers did not have consent to administer harmful
psychiatric drugs, their forced administration ofthose drugs constituted a battery.

109. The assault is an inchoate offense that wraps into the battery the moment the apprehension
cause by the brandishing of a needle became actual contact and administration of drugs

110. Because PlaintilfPatient was under voluntarily admission the procedures for his treatment
were different than those under which medical professionals would be authorized to operate in
an ambulatory situation His seeking an evaluation (consent to evaluation) was not consent to
treat nor is there any signature ofl\/Ir. Nuland’s consenting to any of the treatments detailed
throughout this complaint

111. In met it is even noted on an admittance form that Justine was “too anxious to sign”, thus
indicating the Defendants knew Justin Nuland did not assent to the treatment Dr. Chin and
the other staff at both South Shore Hospital and South Shore Mental Health were required to
obtain Plainti'lfNuland’s consentj and that as he Was already an adult at the time (above the age
of nrinority), his father’s would not have sufficed

1 12. The net that the staff then proceeded to perform psychiatric procedures on him against his
will and without informing him of the risks of such administration (notorious and multitudinous

with newer psychiatric drugs) constitutes battery.

19

 

ll6.

Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 20 of 24

ll3. Intravenous administration of psychiatric drugs is qualifying conduct, even if one sets aside

the context of the treatment and the Plaintiii’s psychiatric history (probably not relevant due to
courts’ reluctance to ‘individualiz)e’ a reasonable plaintiff to much of an extent at all), because, in
the end, South Shore Ho spital and its authorized agents performed procedures that interfered
with PlaintiffNuland’s right to bodily autonomy and freedom from physical inclusion the

underlying justification for the tort of battery.

COUNT 3

FALSE IMPRISONMENT

114. Plaintiifrealleges and restated all factual allegations contained in statements 1-113 herein

l 15. False imprisonment consists of the unlawful restraint against his or her will of an individuals

personal liberty or ieedom ofmovement, accomplished with or without process oflaw. lt is
also defined as the unlawful violation of the personal liberty of another, or the unlade
deprivation cfa person's liberty, imposed by force or threats lt is detention without legal
process, or an arrest without reasonable grounds, and against one‘s will
When Pla`intiif` Patient voluntarily presented himselfat South Shore Hospital for an
evaluation, he did not want to be detained, restrained, admitted, or held against his will During
his one-week confinement Patient was held against his wil], with the use of harnesses, restraints,
and chemical restraints to limit his movement He was confined to a small room, not freely
allowed to leave despite repeated requests

As a direct result of being falsely imprisoned at South Shore Hospital, and following after a

Tufts Health facility, the Patient suffered extensive emotional damage, physical injury, stress,

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Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 21 of 24

anxiety, and emotional distressl
C()UNT 4
NEGLIGENT INFLICTION OF EM OTIONAL DISTRESS
l 18. Plaintiffrealleges and restated all factual allegations contained in statements 1-117 herein
l 19. All defendant health care providers owed a duty of care to the PlaintiifPatient. As
prescribed by Massachusetts law, all health care providers and licensed physicians and nurses
are required to adhere to strict levels of quality medical care and treatment, and abide by these
requirements when treating a patient Since the PlaintiffPatient was in their care, they owed a
duty directly to him to perform and administer medical care ordinarily exercised by the average
qualified physician and nurse engaged in medical practice at a professional level
120. lt is herein alleged that in this matter Plaintiffs deviated from the reasonable and prudent
standard for the like in their profession including but not limited to, following reasons:
a. Defendant’s committed 59 instances of malpractice relating to the administration of
Haloperidol, Olanzapine, Lorazepam yet miled to comply with the requirements of
M.G.L. c. 123, §SB(d)-(f), which govern the standards required to administer
antipsychotic medication Defendants unlawfully administered the drug Haloperidol no
less than 26 times. Defendants unlawfully administered the drug Olanzapine no less than
4 times. Defendants unlawfully administered the drug Lorazepam no less than 29 times
121. ln addition to administering high- dose antipsychotic medications, South Shore l~lospital,
South Shore l\/lental Health, and its physicians and nurses seriously deviated from commonly
accepted and safe medical practices when treating the Plaintiff. Specifically, he was treated

against his will, not provided with informed consent for any of the treatments he received, held in

21

 

Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 22 of 24

seclusion, chemically restrained, and experienced significant pain and discomfort

122. South Shore Hospital, South Shore Mental Health, and the named defendant physicians and
nurses working at both South Shore health care providers were negligent in their care and
treatment of the Plaintiif Patient, in that they all failed to treat him in accordance with the
standard of care and skill required of and ordinarily exercised by the average qualified physician
and nurse engaged in medical practice at a professional level, such as that in which the
defendant health care providers were engagedl

123. As a direct result of the Defendant’s negligence, P]aintiifPatient suifered significant

emotional distress, and still suffers today horn long- lasting emotional distress.

COUNT 5
VIOLATION OF RIGHT TO PRIVACY
124. Plaintiffrealleges and restated all Sctual allegations contained in statements 1-123 herein
125. As codified by M.G.L. c. 2]4, § lB, every person has a light to privacy, and to be free
ii"om unreasonable, substantial or serious interference with that right
126, Throughout Plaintirf Patient’s confinement and treatment at South Shore Hospital and South
Shore Mental l-lealth, his right to privacy was breached
127. When South Shore llospital and l\/Iedical Record Associates, LLC, Sent Plaintifi’ s private
confidential medical information to an adverse party in a lawsuit, the Plaintiff was emotionally
distraught, and felt violated.
128. This serious breach of the Plaintiif s right to privacy constitutes a violation of l“l[PAA, a

federal law purposed to protect a patient’s privacy and confidential medical information

22

 

 

Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 23 of 24

129. While HIPAA does not allow for a private cause ofaction, a violation of H]PAA can be the
basis for a breach of right of privacy claim, and that may serve as strong evidence that the
Patient’s privacy was violated and that his claim has strong merit.

130. ln this case, both South Shore llospital and Medieal Record Associates, LLC, admitted
their fault and negligence in sending coniidential, private medical records to an unintended
third-party, following specific requests to only send the records to Plaintiif

131. Further, the violation in this matter is made more egregious since the Defendants provided a
full medical record history to an adverse party in litigation, and only provided 21 pages less of
information to the actual requester and owner of the records.

132. As a direct result of this negligence and violation of Plaintiii’ s right to privacy, Plaintiii was

harmed and suffered damage

CONCLUSION AND PRAYER FOR RELIEF
WHEREFORE, based upon the factual allegations above and the claims submittedj Plaintiff
respectfully requests that this Honorable Court:
1. '[RY all factual issues and disputes, and all claims triable by a jury;
2. AWARD the Plaintiif compens atory and actual damages to be determined by a Finder
ofFact, against all defendants ; and
3. AWARD punitive damages based upon the egregious behavior of defendants in this

matter and the harm that resulted

23

Case 1:15-cV-10006-WGY Document 1 Filed 01/02/15 Page 24 of 24

DEMAND FOR JURY TRIAL

Defendant respectfully demands a trial by jury on all triable issues.

RESPECTFULLY SUBMITTED,

Dated: January 2, 2014 l\/lr. Justin H. Nuland
By and through his attorneys,

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24

 

 

 

